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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 09-23097-Civ-COOKE
                                                (03-20759-Cr-COOKE)
                                        MAGISTRATE JUDGE P. A. WHITE
  GUILLERMO SALCEDO,                :

        Movant,                     :

  vs.                               :             REPORT OF
                                              MAGISTRATE JUDGE
  UNITED STATES OF AMERICA,         :

       Respondent.            :
  ___________________________


       This matter is before this Court on the movant’s “Writ of
  Error Coram Nobis” filed pursuant to 28 U.S.C. §1651 on August 13,
  2009.1 Review of the motion reveals that the movant is attacking
  the constitutionality of his conviction and sentence entered
  following a guilty plea in Case No. 03-20759-Cr-Cooke.

        The   Court   has   reviewed    the   motion   and   the   government’s
  response, as well as all pertinent portions of the underlying
  criminal file. No order to show cause has been issued in this case
  because the files and records of the case conclusively show that
  the prisoner is entitled to no relief.


       Specifically, the movant raises the sole claim that there was
  insufficient evidence to support his conviction for using,
  carrying, and/or possessing a firearm during and in relation to a
  drug trafficking offense. (Cv-DE#1:3). The movant claims that coram
  nobis relief is appropriate to challenge that conviction and
  sentence.


        In order to place the procedural posture of this case in


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         See: Adams v. U.S., 173 F.3d 1339 (11 Cir. 1999) (prisoner's pleading is
  deemed filed when executed and delivered to prison authorities for mailing).
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  context, a brief procedural history is required. The movant was
  charged with and pleaded guilty pursuant to a written plea
  agreement to conspiracy to possess within intent to distribute five
  kilograms or more of cocaine (Count 1) and using, carrying, and/or
  possessing a firearm during and in relation to a drug trafficking
  offense (Count 5). (Cr-DE#s14,97,181). On June 1, 2005, he was
  sentenced to 240 months in prison as to Count 1, followed by a
  consecutive 60 months in prison as to Count 5. (Cr-DE#181). The
  judgment was entered by the Clerk on June 3, 2005. (Cr-DE#181). No
  direct appeal was filed. The judgment of conviction in the
  underlying criminal case became final at the latest on June 17,
  2005, ten days after the entry of judgment, when time expired for
  filing a notice of appeal.2 At the latest, the movant was required
  to file this motion to vacate within one year from the time the
  judgment became final, or no later than June 17, 2006. See Griffith
  v. Kentucky, 479 U.S. 314, 321, n.6 (1986).


       The movant has now filed the instant petition for writ of
  error coram nobis pursuant to 28 U.S.C. §1651 on August 13, 2009.
  (Cv-DE#1; Cr-DE#215). The Clerk of Court docketed this coram nobis
  petition as a §2255 motion to vacate. (Cv-DE#1). As noted
  previously, the movant is challenging the constitutionality of one
  of his convictions, as listed above.


       The law is clear that a motion to vacate is the proper vehicle
  to challenge the validity of a conviction or sentence. See 28
  U.S.C. §2255. Federal courts have authority to issue a writ of


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          Where, as here, a defendant does not pursue a direct appeal, the
  conviction becomes final when the time for filing a direct appeal expires. Adams
  v. United States, 173 F.3d 1339, 1342 n.2 (11th Cir. 1999). The time for filing
  a direct appeal expires ten days after the judgment or order being appealed is
  entered. Fed.R.App.P. 4(b)(1)(A)(I). The judgment is “entered” when it is entered
  on the docket by the Clerk of Court. Fed.R.App.P. 4(b)(6). On December 1, 2002,
  Fed.R.App.P. 26 which contains the rules on computing and extending time, was
  amended so that intermediate weekends and holidays are excluded from the time
  computation for all pleadings due in less than 11 days.

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  error coram nobis under the All Writs Act, 28 U.S.C. §1651(a). The
  writ of error coram nobis is an extraordinary remedy of last resort
  available only in compelling circumstances where necessary to
  achieve justice. See United States v. Swindell, 107 F.3d 831, 834
  (11th Cir. 1997).


       Recently, the U.S. Supreme Court has “limit[ed] the
  availability of the writ [of coram nobis] to 'extraordinary' cases
  presenting circumstances compelling its use 'to achieve justice.'”
  United States v. Denedo, ___ U.S. ___, 129 S.Ct. 2213, 2220 (2009)
  (citing United States v. Morgan, 346 U.S. 502, 511 (1954)). The
  Court has observed that “it is difficult to conceive of a situation
  in a federal criminal case today where [a writ of coram nobis]
  would be necessary or appropriate.” Carlisle v. United States, 517
  U.S. 416, 429 (1996) (brackets in original) (citing United States
  v. Smith, 331 U.S. 469, 475 n. 4 (1947)).


       The court's authority to vacate a conviction through a writ of
  coram nobis derives from the All Writs Act, 28 U.S.C. §1651. "[T]he
  All Writs Act is a residual source of authority to issue writs that
  are not otherwise covered by statute. Where a statute specifically
  addresses the particular issue at hand, it is that authority, and
  not the All Writs Act, that is controlling." Carlisle, 517 U.S. at
  429. Ultimately, however, issuance of a writ of coram nobis lies
  within the discretion of the court. See Santos-Sanchez v. United
  States, 548 F.3d 327, 330 (5 th Cir. 2008); Alikhani v. United
  States, 200 F.3d 732, 734 (11th Cir. 2000); United States v.
  Mandanici, 205 F.3d 519, 524 (2d Cir. 2000).


       Courts have found, however, the writ inappropriate when relief
  through habeas corpus may be sought. e.g., Denedo, 129 S. Ct at
  2221 (“Another limit ... is that an extraordinary remedy may not
  issue when alternative remedies, such as habeas corpus, are
  available.”); United States v. Johnson, 237 F.3d 751, 755 (6th Cir.


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  2001) (noting coram nobis is only available when a section 2255
  motion is unavailable, "generally, when the petitioner has served
  his sentence completely and thus is no longer 'in custody' as
  required for §2255 relief"); United States v. Brown, 117 F.3d 471,
  475 (11th Cir. 1997) ("If [the defendant] was 'in custody' within
  the meaning of §2255 when he filed his appeal, then the statutory
  remedies of that provision were available to him, and coram nobis
  relief was unavailable as a matter of law."); see also United
  States v. Barrett, 178 F.3d 34, 54-55 (1st Cir. 1999) (finding coram
  nobis inappropriate because §2255 was applicable, even though it
  barred second petition); United States v. Bush, 888 F.2d 1145, 1147
  (7th Cir. 1989)("Contemporary coram nobis matters only after custody
  expires...."); Madigan v. Wells, 224 F.2d 577, 578 n. 2 (9 th Cir.
  1955) (same). In this case, the movant is still in custody, and
  therefore, coram nobis relief is inappropriate.


       A federal remedy under 28 U.S.C. §2255 is available to contest
  a conviction once a prisoner is in custody "under sentence of a
  [federal] court." 28 U.S.C. §2255(a). Ordinarily, the Court must
  first notify a pro se litigant before recharacterizing his pleading
  as an initial motion to vacate. See Castro v. United States, 540
  U.S. 375 (2003) (holding that a district court may not
  recharacterize as a first §2255 motion a pro se litigant’s filing
  that did not previously bear that label, unless the Court first
  warns the pro se litigant about the consequences of the
  recharacterization, thereby giving the litigant an opportunity to
  contest the recharacterization, or to withdraw or amend the
  motion). The Supreme Court reasoned that notification is necessary
  because under the AEDPA a defendant may only file one motion to
  vacate, and thereafter will be barred by the rule against
  successive motions. The movant has never challenged his convictions
  and sentences pursuant to 28 U.S.C. §2255. However, it does not
  appear that a Castro notification is mandated in this case because
  the movant would not be entitled to relief even if he chose to


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  recharacterize this motion because the motion is not timely.


       Pursuant to 28 U.S.C. §2255, a movant must file a motion to
  vacate within one year of four enumerated events. The one year
  period runs from the latest of:

                (1) the date on which the judgment of conviction
              becomes final;
               (2) the date on which the impediment to making a motion
              created by governmental action in violation of the
              Constitution or laws of the United States is removed, if
              the movant is prevented from making a motion by such
              governmental action;
               (3) the date on which the right asserted was initially
              recognized by the Supreme Court, if that right has been
              newly recognized by the Supreme Court and made
              retroactively applicable to cases on collateral review;
              or
               (4) the date on which the facts supporting the claim or
              claims presented could have been discovered through the
              exercise of due diligence.



       Courts may sua sponte consider the issue of the timeliness of
  a motion to vacate even when the statute of limitations is not
  pleaded as a defense by the respondent.   Jackson Moore, 292 F.3d
  1347 (11 Cir. 2002).


       Neither the first, second, or fourth factors enumerated above
  render the present motion timely, as it was filed more than one
  year after the movant’s conviction became final, there is no
  allegation that the government created an impediment which
  precluded the timely filing of the motion or that the facts
  underlying the claim could not have been previously discovered with
  due diligence. Consequently, to the extent this case was opened as
  a §2255 motion, it is also time-barred, and no Castro order is
  required as the movant is not entitled to review of the motion on
  the merits. In this case, because any future motion would be
  untimely, like this one, therefore addressing the timeliness of the
  motion at this juncture does not prejudice the movant.

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          It is therefore recommended that the petition for writ of
  error coram nobis (Cr-DE#215) be dismissed, and that to the extent
  this petition is construed as a motion to vacate (Cv-DE#1), that it
  be dismissed as time-barred.


       Objections to this report may be filed with the District Judge
  within ten days of receipt of a copy of the report. IF THE MOVANT
  OBJECTS TO THE RECHARACTERIZATION OF THE MOTION OR HE CAN
  DEMONSTRATE THAT THE RECHARACTERIZED MOTION IS TIMELY, HE MAY SAY
  SO IN OBJECTIONS TO THIS REPORT AND RECOMMENDATION.


          Signed in chambers at Miami, Florida, this 2nd day of November,
  2009.
                                           ______________________________
                                           UNITED STATES MAGISTRATE JUDGE
  cc:   Guillermo Salcedo, Pro Se
        Reg. No. 70125-004
        F.C.I.
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